                                                                                                                                                              Number";
SOCIETY COMMENTARY                                                                                                                                    cMsg = app.response(cAsk);

I Spent a Year as Case
                  a Trans   Man. Doctors Failed Me at Every Turn.
                       2:22-cv-00184-LCB-CWB Document 87-1 Filed 05/03/22                                                 Page 1 of 16                   event.value = cMsg;
                                                                                                                                                             DEFENDANT'S
                                                                                                                                                               EXHIBIT

Sydney Wright October 07, 2019                                                                                                                                  41
 COMMENTARY BY




Sydney Wright

Sydney Wright is a business sales representative in the private sector and a student at Georgia Northwestern Technical College.
I can’t wrap my head around all that I’ve done to myself in the last two years, much less the “help” that some health care professionals have done to me.

Two years ago, I was a healthy, beautiful girl heading toward high school graduation. Before long, I turned into an overweight, pre-diabetic nightmare of a
transgender man.

I won’t place the full blame on health care providers, because I should have known better. But they sure helped me do a lot of harm to myself—and they made a
hefty buck doing it.

Here’s my story.

From my earliest years, I was always different from the other girls. I wore boy clothes, and I played with boy toys. I was a classic tomboy.

As I got older, I became romantically interested in other girls. In fact, with the exception of one guy I dated in high school, I exclusively dated girls.

At the time, you wouldn’t have been able to tell I was gay just from looking at me. I had long, blond hair, wore makeup, and carried myself rather femininely. But
in my head, I knew I was gay—though I was more of a self-loathing gay.

The truth is, I didn’t like gays, and didn’t want to be associated with them. Yet there I was, dating only other girls.
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Sydney as a senior in high school. (Photo: Sydney Wright)

By the time I was 17, my parents had long divorced and I was living with my dad. That’s when he found out I was dating girls. He promptly kicked me out of the
house, saying it was his way or the highway.

With little choice, I moved in with my mom.

Soon after that, I cut my hair—a decision that grieved both my parents. But what happened next grieved them far more.

At age 18, I started seeing a bunch of transgender men’s “success stories” on Instagram. The trans men talked about how something had always “felt off” with
them, and they said people couldn’t tell they had been the opposite sex after their transition.

Their stories all seemed to have a happy ending—and it made me rather jealous.

Here I was getting frowned upon for holding hands with my girlfriend in public, feeling like I’m constantly being judged by everyone, while transgenders could
date their same-sex significant other while looking like the opposite sex.

I resented that and began to envy the transgenders. I looked into it for myself.

A Fast Track to Transgender

Everything I read was in favor of transitioning.




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      They only mentioned how brave the transition would make you, and how good it would be for you.


Regrettably, I couldn’t find any articles about transgender regret or the huge health issues that would come from making the transition. They only mentioned
how brave the transition would make you, and how good it would be for you.

I tried my best to find books that discussed the issue critically and offered opposing views, but all I found were pro-transgender authors. That left me with the
obvious conclusion: If all the “experts” were in favor of transition, why not do it?
Every passing day, I saw myself as this awful “dyke,” this unnatural lesbian. I hated that image and would much rather have been a guy dating girls. So I Googled
how to make the transition to Case
                              male. 2:22-cv-00184-LCB-CWB Document 87-1 Filed 05/03/22 Page 4 of 16
                                 Case 2:22-cv-00184-LCB-CWB Document 87-1 Filed 05/03/22 Page 5 of 16




Sydney after cutting her hair. (Photo: Sydney Wright)
The first step was to find a therapist who would write me a letter to start me on male hormones.
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I soon found a therapist who said she would help me, and I told her I wanted to start the hormones on my 19th birthday, which was only five weeks off. She
required only a one-hour appointment each week.

That’s hardly enough time to get to know someone. Yet those five hours got me an official letter that unlocked the doors for me to get hormone therapy and
become a “man.” It also helped me change my “sex” on my driver’s license from female to male.




                                                                                                                                                                       
     Not once did she tap the brakes to keep me from gender transition.


I now see a huge problem with how easy this was. If the therapist had gone slower and been more careful, she would have seen that I wasn’t actually trans.

But by this time, I’d seen the promotional videos. I was convinced that my gender is what was “off,” and the therapist guided me along and made me feel like a
sex change is what I needed.

By this point, my friends were also encouraging me to transition. “You’re a hot girl,” they said. “You’ll be a hot guy, too!” Others were too afraid to say anything
against it, because after all, it was 2017. I never got pushback from anyone.

In reality, of course, I was not a boy, and hearing otherwise was the last thing I needed. I was simply insecure about being tomboyish and a lesbian in public.

My therapist never once tried to sit down with me and figure that out. Instead, she asked me questions like: “When did you start feeling this way?” “Why do you
feel you’re this way?”

Not once did she tap the brakes to keep me from gender transition.

The Scam That Scarred Me

Once I got my letter, I went to a doctor in Atlanta in what turned out to be the worst treatment of my life.




                                                                                                                                                                       
     I was not a boy, and hearing otherwise was the last thing I needed.
The doctor came in and asked if I had any questions. I told him, “I’m just a little nervous.” He asked, “Do you not want to do this?” I said, “I do,” and he replied,
“All right. Where’s your letter?”Case 2:22-cv-00184-LCB-CWB Document 87-1 Filed 05/03/22 Page 7 of 16

I gave him my letter, but he didn’t open it—not even to check if it was real.

He said, “I’ll call in your prescription for testosterone.” That surprised me—I thought he was going to administer it himself.

I asked, “Are you not going to give me the shot yourself?” He then sarcastically suggested I could drive all the way back to Rome, Georgia, (four hours) to get my
prescription, and then come back to his office to get the shot.

That wasn’t realistic, and he knew it.

“But I don’t know how to give myself a shot,” I said.

He replied, “There’s no wrong way to give it.” He told me to go home and figure it out. He suggested watching a YouTube video.

That honestly scared me. It should have been red flag No. 1 that the doctor didn’t care, that this was just a money scam. His hands-off approach showed he was
confident he wouldn’t be held accountable for this treatment.

But at this point, I was still caught in the delusion. I thought gender transition could make me “normal.”

Unfortunately, that’s not the reality that awaited me.

Destroying My Own Body

The injections of male hormones started to have their effect, but not in the way I expected. I started gaining more and more weight. My skin started to get more
and more puffy and discolored. My blood started to thicken.

The doctor’s office was running bloodwork for me every three months, and it actually said I was now pre-diabetic—something that was totally new for me.

My gender-transition doctor said not to worry, but I decided to see another doctor for a second opinion. He said my thickening blood put me at risk for a heart
attack or stroke.
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Sydney during the first few months on hormones. (Photo: Sydney Wright)

I did this to myself for almost a year. During that time, I gained 50 pounds and was miserable. None of my problems that I thought this would solve were being
solved, and I came to have even less self-confidence than before.
I started feeling regret.
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Unfortunately, I was stuck: I had already declared to everyone that this was who I was. I had changed my gender, and I had forced people to play along with it
and call me by a new name: Jaxson. At work, men had to be OK with their former female co-worker now using the same restroom as them.

Everyone was walking on eggshells around me—and people fell in line for fear of what might happen if they objected. (Employers are already being sued over
this kind of thing, after all.)

Nobody could tell me what I was doing was wrong, or “Hey, wake up!” A few brave souls at work did quietly try to say, “Are you sure?” Or, “Why don’t you think
about it a little while?”

Meanwhile, my mom was crying daily about why I was doing this to myself, all the while blaming herself.
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Sydney after one year on hormones. (Photo: Sydney Wright)

Finally, one day, my grandfather sat me down to talk about it. He was, and will remain the only person whose opinion I will ever care about. With tears in his
eyes, he asked me to stop.

Everything in me wanted to keep going—not even because I wanted it anymore, but because of pride. “What will people think?” I thought. I had made everyone
play along. If I suddenly stopped, what would I tell people?

Those questions ate at me. And yet, there was my grandpa, the man I respect most, pleading with me through tears. I just couldn’t tell him no.

That was a saving grace. I would have let this treatment kill me before admitting I’d screwed up. His intervention may have saved my life.
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Sydney with her grandfather. (Photo: Sydney Wright)
So I decided to quit—and I quit cold turkey without seeing my doctor again.
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Unfortunately, it wasn’t that simple.

Not even two weeks after stopping hormone treatment, the withdrawals kicked in with a vengeance. I was soon on the floor groaning, crying, throwing up, not
able to keep anything down, and not able to eat at all.

Getting sick every single day was exhausting. I went to the emergency room three times and had to have two procedures to figure out what was happening to
me. My hormone balance was way off, and I was miserable.
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Sydney while losing weight from withdrawals. (Photo: Sydney Wright)

The last time I went to the ER, I had been showering and suddenly went into withdrawals. I called my mom, who had to drive 30 minutes to come get me out of
the shower and take me to the hospital. I didn’t even think I would make it there alive.

Before the ER gave me medicine to sedate me, I begged my mom to make them admit me to the hospital. “I will die if I go back home or leave here,” I said.

She and I both sat crying before I passed out from all the sedatives they gave me. I thought I wasn’t going to make it.

Finally, Hope

After four long, exhausting months of being sick every day and losing the 50 pounds, I finally got back to a semi-normal life.

I’m now more stable, but my body bears the scars of gender therapy. My voice is still deep, and I look very masculine. I’m now $1,000 poorer due to the cost,
though that’s a fraction of what insurance paid.

And, because of that doctor’s letter that said I’m irreversibly a male, my driver’s license is now stuck with a “male” label. I’ll have to appear in court to prove I’m a
female again.

Nevertheless, I’m just thankful to have gotten off this horrible path alive, and before I had any body parts mutilated.
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Sydney six months after quitting hormone treatment. (Photo: Sydney Wright)

It’s insane to me that our society is letting this to happen to young people. At age 18, I wasn’t even legal to buy alcohol, but I was old enough to go to a therapist
and get hormones to change my gender.

This is happening to vulnerable kids much younger than I was, and the adults are AWOL.

When you walk into these clinics, you won’t really see older people around. It’s boys and girls playing dress-up, brought there by clueless parents, waiting for the
appointment that could likely ruin their lives.

I hope I’m not the only one who sees a major problem with this. Our culture has set up a fast-track to gender transition that will only result in scarred bodies and
ruined lives—and the medical community is complicit. I met with these doctors in person and gave them my own cash. I can tell you they did not care.




                                                                                                                                                                    
     At age 18, I wasn’t even legal to buy alcohol, but I was old enough to go to a therapist and get hormones to change
     my gender.


This is a public health crisis that our media and politicians are completely ignoring. More young people are being deceived every day, being told that the solution
to their insecurity and identity problems is to get a sex change.

That’s just about the worst path you can put a young person on.

Until we do something, until the medical community puts up serious guardrails and begins to do its due diligence—and until politicians grow a spine and step in
—expect to see more young people scarred for life.

If anything, I hope my story can serve as a warning bell and save some other young teenager the misery and grief I’ve been through.
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